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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
Case No. 1:20-CR-00206-BLW
Plaintiff,
REPORT AND

V. RECOMMENDATION

MELISSA A. CASTELLANOS,

Defendant.

 

 

On October 6, 2021, Defendant MELISSA A. CASTELLANOS appeared before
the undersigned United States Magistrate Judge to enter a change of plea pursuant to a
written plea agreement. (Dkt. 14.) The Defendant executed a waiver of the right to have
the presiding United States District Judge take her change of plea. Thereafter, the Court
explained to the Defendant the nature of the charges contained in the Indictment (Dkt. 1),
the maximum penalties applicable, her Constitutional rights, the impact that the
Sentencing Guidelines will have, and that the District Judge will not be bound by the
agreement of the parties as to the penalty to be imposed.

The Court, having conducted the change of plea hearing and having inquired of
the Defendant, counsel, and the government, finds there is a factual basis for the
Defendant’s guilty plea, that she entered it voluntarily and with full knowledge of the
consequences, and that the plea should be accepted. The undersigned also ordered a pre-
sentence investigation to be conducted and a report prepared by the United States

Probation Office.

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RECOMMENDATION
| NOW THEREFORE IT IS HEREBY RECOMMENDED:

1) The District Court accept Defendant MELISSA A. CASTELLANOS’ plea
of guilty to Count Three of the Indictment (Dkt. 1).

2) The District Court order forfeiture consistent with Defendant MELISSA A.
CASTELLANOS?’ admission to the Criminal Forfeiture allegation in the Indictment (Dkt.
1) and the Plea Agreement (Dkt. 14).

3) The District Court GRANT, at the appropriate time, the United States’
motion to dismiss Counts One, Two, Four, Five, Six, Seven, and Eight of the Indictment
(Dkt. 1) as to Defendant MELISSA A. CASTELLANOS.

Written objections to this Report and Recommendation must be filed within
fourteen (14) days pursuant to 28 U.S.C. § 636(b)(1) and Local Rule 72.1(b), or as a
result of failing to do so, that party may waive the right to raise factual and/or legal

objections to the United States Court of Appeals for the Ninth Circuit.

DATED: October 6, 2021 MIX phe

CANDY WAGAHOFF DALE
CHIEF U.S. MAGISTRATE JUDGE

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